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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


  JOHN SOLOMON,

                         Plaintiff,                    Case No.: 1:23-cv-00759-RJL

                  v.

  MERRICK GARLAND, et al.

                         Defendants.


     PLAINTIFF’S STATEMENT OF UNDISPUTED MATERIAL FACTS

      Pursuant to Local Rule 7(h)(1), the plaintiff John Solomon submits this

statement of material facts as to which there is no genuine issue.

             1.        Exhibit 1 is a true copy of the letter by former President Donald

    J. Trump designating Mr. Solomon as his representative for access to

    presidential records of the Trump administration pursuant to 36 C.F.R. §

    1270.44(a)(4).

             2.        Exhibit 2 is a true copy of the emails referenced in paragraphs

    46–47, 48–52, and 55–66 below.

             3.        Exhibit 3 is a true copy of former President Trump’s January 19,

    2021, declassification order published in the Federal Register at 86 Fed. Reg.

    6,843.

             4.        Exhibit 4 is a true copy of the January 20, 2021, memorandum

    from Mark Meadows to the Attorney General.

             5.        Exhibit 5 is a true copy of Mr. Solomon’s affidavit.

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        6.     At the President’s request, the Department of Justice provided

the White House with a binder of materials related to the Federal Bureau of

Investigation’s Crossfire Hurricane investigation on December 30, 2020. Ex. 1

at 1.

        7.     Portions of the documents in the binder were classified and had

not been released to Congress or the public. Id.

        8.     The President requested the documents so that a declassification

review could be performed and so that he could determine to what extent

materials in the binder should be released in unclassified form. Id.

        9.     He determined that the materials in that binder should be

declassified to the maximum extent possible. Id.

        10.    The President intended to make the binder public so that the

American public would know what its government had done. Ex. 5 ¶¶ 15, 17–19,

28.

        11.    As part of the iterative process of the declassification review,

under a cover letter dated January 17, 2021, the Bureau noted its continuing

objection to any further declassification of the materials in the binder and, on a

review that included Intelligence Community equities, identified the passages

that it believed were most crucial to keep from public disclosure. Ex. 1 at 1.

        12.    Among other things, the binder contained embarrassing

information about the Bureau’s officials and about the government’s conduct in

the case. Ex. 5 ¶ 15.



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       13.      The President decided to accept the proposed redactions and

declassified the rest of the binder. Ex. 1 at 1.

       14.      The President directed the Attorney General to make the

redactions proposed in the Bureau’s January 17 letter and return to the White

House an appropriately redacted copy of the binder. Id.

       15.      At this point, the binder contained about 2,700 pages and was

approximately ten inches thick. Ex. 5 ¶ 9.

       16.      The Department of Justice Office of Legal Counsel opined that

the Privacy Act did not apply to the binder. Ex. 4 at 1.

       17.      At all times relevant, the President considered the binder a

Presidential record and intended to maintain control over it. Ex. 5 ¶ 17.

       18.      Sometime in mid-January 2021, White House Chief of Staff Mark

Meadows informed Mr. Solomon that former President Trump was going to

authorize the declassification of Crossfire Hurricane investigation documents.

Id. ¶ 5.

       19.      Meadows told him that the White House had gathered the records

from agencies, that Trump was preparing a declassification order, and that the

records would be made available to him and other reporters before Trump’s

departure from office on January 20, 2021. Id. ¶ 6.

       20.      In the final 48 hours before Trump left office, both the President

and Meadows told Mr. Solomon that the Crossfire Hurricane binder had been

declassified. Id. ¶ 7.



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      21.      On January 19, 2021, Meadows invited Mr. Solomon to the White

House to review several hundred pages of declassified documents from the

binder and to discuss a plan for the binder’s release to the American public on

the morning of January 20, 2021. Id. ¶ 8.

      22.      Mr. Solomon quickly thumbed through the binder to understand

the nature and quantity of the records after being assured by Meadows and a

White House lawyer that the binder had been declassified and after being shown

a copy of the President’s signed declassification order. Id.

      23.      Mr. Solomon saw lightly redacted versions of the fourth Crossfire

Hurricane FISA warrants, a 2017 FBI 302 interview report with Christopher

Steele, several tasking orders related to a second Confidential Human Source

named Stefan Halper, and other documents. Id. ¶ 9.

      24.      The records had markings consistent with declassified documents

that Mr. Solomon had seen in prior Freedom of Information Act cases, such as

lines through words like “NOFORN.” Id. ¶ 10.

      25.      Mr. Meadows told Mr. Solomon that the White House had made

the final decisions on which passages to declassify and which to keep redacted

in each document. Id.

      26.      Meadows discussed a strategy for releasing the documents to the

public with Mr. Solomon via the “Just the News” website. Id. ¶ 11.




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       27.     The strategy included getting him a copy of the binder on an

embargoed basis so that his staff could begin scanning it on the evening of

January 19, 2021, for release the following morning. Id.

       28.     It also included getting Mr. Solomon a smaller second set of

records that he could write about that night. Id.

       29.     These records are attached as Appendix A to Mr. Solomon’s

affidavit.

       30.     Either Mr. Solomon or his staff went to the White House early in

the evening of January 19, 2021, to get the binder to begin scanning. Id. ¶ 12.

       31.     A copy of the documents in the binder had been made by the

White House and was given to them in a paper bag. Id.

       32.     Separately, a Department of Justice envelope was delivered to

Mr. Solomon’s office containing the documents that he was permitted to write

about that evening. Id.

       33.     The records in the Department’s envelope were identical to those

in the binder. Id. ¶ 14.

       34.     Mr. Solomon scanned them and began writing a story. Id. ¶ 12.

       35.     Mr. Solomon’s staff began setting up a scanning operation for the

entire binder to be released the next morning. Id. ¶ 13.

       36.     As they were setting up the equipment and processes for

scanning, they received a call from the White House asking that the

documents—still under embargo—be returned because the White House wished



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to make some additional redactions to unclassified information consistent with

the same standards established by the Privacy Act. Id.

       37.     One of the President’s subordinates had decided on his own

initiative that the records in the binder should be redacted under the same

standards contained in the Privacy Act prior to public release, even though the

Office of Legal Counsel had determined that the Privacy Act did not actually

apply to the records. Id.

       38.     The scanning operation was halted, and the records returned to

the White House. Id.

       39.     Meadows promised Mr. Solomon that he would receive the revised

binder. Id.

       40.     This never occurred. Id.

       41.     On January 20, 2021, Mr. Meadows sent the Crossfire Hurricane

binder to the Department of Justice with a cover memorandum directing the

Attorney General to apply “the standards of the Privacy Act,” redact accordingly,

and then publicly release it. Mr. Meadows fully expected the Department to

redact and disseminate the documents within, at most, a few days. Ex. 4 at 1;

Ex. 5 ¶¶ 15–16, 28.

       42.     The Department of Justice received the Crossfire Hurricane

binder on the morning of January 20, 2021. Ex. 5 ¶¶ 16, 24, 30.

       43.     The President did not know that Mr. Meadows was taking such

action. Id. ¶ 17.



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       44.     The President did not authorize Mr. Meadows to send the binder

to the Department of Justice for Privacy Act redactions or to modify his

directions with respect to it. Id.

       45.     On January 20, 2021, Mr. Meadows placed a copy of the

documents in the binder sent to the Department of Justice in a box for transfer

to the Archives as Presidential records. Ex. 5 ¶¶ 16, 24, 30.

       46.     On June 17, 2022, Evan Corcoran, the former President’s

attorney, e-mailed Gary Stern, General Counsel of the National Archives and

Records Administration stating that the former President intended to sign a

letter designating Kash Patel and Mr. Solomon as his representatives, and

informing him that they would like to begin reviewing the documents at the

Archives on June 21, 2022. Ex. 2 at 15–16; Ex. 5 ¶ 20.

       47.     On June 17, 2022, Mr. Stern replied that the Archives could begin

the process of providing them with access to Trump Presidential records once it

received both the former President’s letter and a specific description of the

records for review. Ex. 2 at 14–15; Ex. 5 ¶ 21.

       48.     On June 19, 2022, the former President designated Mr. Patel and

Mr. Solomon as his representatives for access to Presidential records from his

administration. Ex. 1 at 1; Ex. 5 ¶ 21.

       49.     On June 22, 2022, Mr. Solomon e-mailed Mr. Stern stating that

he understood the former President’s authorization letter had been received and

that the first request was for “a binder of documents from the Russia



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investigation that the President declassified with an order in his last few days

in office. It is about 10 inches thick. It includes documents such as the last two

approved FISA warrants the FBI sought in their fully declassified state, the

debriefing documents, tasking orders and validation reports for confidential

human sources Christopher Steele and Stefan Halper and other documents.” Mr.

Solomon further stated that he intended to make copies of every document that

was declassified by the former President’s order. Ex. 2 at 14; Ex. 5 ¶ 23.

      50.         On June 23, 2022, Mr. Stern e-mailed Mr. Solomon that the

Archives did not have the binder because it had been “returned” to the

Department of Justice on January 20, 2021, in accordance with Chief of Staff

Mark Meadows’s memorandum to the Attorney General. Ex. 2 at 13–14; Ex. 5 ¶

24.

      51.         Mr. Stern also stated that the Archives was separately able to

locate a box that contains roughly 2,700 “undifferentiated pages of documents

with varying types of classification and declassification markings.” Ex. 2 at 13–

14; Ex. 5 ¶ 24.

      52.         Mr. Stern also stated that because the Archives could not

ascertain the classification status of any of the information in the box that it

would treat the contents of the box as “classified at the TS/SCI level.” Ex. 2 at

13–14; Ex. 5 ¶ 24.

      53.         The Archives could have ascertained the classification status of

these records at any time simply by comparing the binder with the boxed records.



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        54.    The Archives never requested the binder from the Department.

        55.    On July 7, 2022, Mr. Solomon e-mailed Mr. Stern stating that he

believed the records held by the Archives were the same documents that had

been declassified by the former President and that they were copied from the

binder in preparation for release to the news media on the morning of January

20, 2021. Ex. 2 at 12; Ex. 5 ¶ 25.

        56.    Mr. Solomon further requested a Mandatory Declassification

Review of those documents to confirm that they are the same as the declassified

records. Ex. 2 at 12; Ex. 5 ¶ 25.

        57.    Mr. Solomon further requested that Kash Patel—who had an

active TS/SCI clearance and was familiar with the documents in the binder—

simultaneously review them to confirm their provenance. Ex. 2 at 12; Ex. 5 ¶ 25.

        58.    On July 12, 2022, Mr. Stern replied that “the Trump Presidential

records” were not available for the Mandatory Declassification Review

procedures under the Presidential Records Act. Ex. 2 at 11–12; Ex. 5 ¶ 26.

        59.    Mr. Stern also stated that the binder was now subject to a FOIA

lawsuit, which meant that the Department of Justice was conducting the type of

review Mr. Solomon requested and that he should try and obtain a copy of the

records released by the Department of Justice in that case. Ex. 2 at 11–12; Ex. 5

¶ 26.

        60.    On July 14, 2022, Mr. Stern e-mailed Mr. Patel stating that, while

the Archives did have multiple copies of documents from the binder, there was



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no clear organization or delineation to the various documents in the box. Ex. 2

at 9; Ex. 5 ¶ 27.

       61.     Mr. Stern also stated that the Archive’s review of the box found

instances of the same document being redacted differently, and some documents

did not have the required declassification marking. Ex. 2 at 9; Ex. 5 ¶ 27.

       62.     Mr. Stern also stated that the binder sent to the Department of

Justice by Mr. Meadows for the specific purpose of Privacy Act redactions and

public release was a federal record managed separately under the Federal

Records Act. Ex. 2 at 9; Ex. 5 ¶ 27.

       63.     On August 14, 2022, Mr. Solomon e-mailed Mr. Stern stating that

the declassified Crossfire Hurricane records were presidential records and

asking what efforts had been made to retrieve them from the Department of

Justice. Ex. 2 at 2; Ex. 5 ¶ 29.

       64.     On August 17, 2022, Mr. Stern replied stating that the “bulk of

the binder” returned according to Meadows’s January 20, 2021, memorandum

was intended to remain with the Department of Justice. Ex. 2 at 1; Ex. 5 ¶ 30.

       65.     Mr. Stern also stated that while the White House separately

retained copies of those documents as Presidential records, the records were “not

in an easily discernible manner.” Ex. 2 at 1; Ex. 5 ¶ 30.

       66.     Mr. Stern also stated that he had asked the Department of Justice

to complete its review as quickly as possible and release the records, as they

were subject to a FOIA lawsuit. Ex. 2 at 1; Ex. 5 ¶ 30.



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          67.      The Bureau has been releasing Crossfire Hurricane records under

    the   Freedom      of   Information    Act    and   posting   them    online   at

    https://vault.fbi.gov/crossfire-hurricane-part-01. Ex. 5 ¶ 31; Defs.’ Mot. Dismiss

    9, ECF No. 10-1.

          68.      A comparison of records from the binder (Appendix A of Mr.

    Solomon’s Affidavit) and the records in the FBI Vault (Appendix B of Mr.

    Solomon’s Affidavit) demonstrates that the FBI Vault records have been altered

    with additional redactions. Ex. 5 ¶¶ 31–33.

          69.      The FBI Vault records are different from the records in the

    Crossfire Hurricane binder Mr. Meadows sent to the Department on January 20,

    2021, for Privacy Act redactions and public release. Id.

          70.      The Department has not complied with Mr. Meadows’s

    instructions in his memorandum of January 20, 2021.

          71.      The Department currently retains possession of the Crossfire

    Hurricane binder and will not send it to the Archives. Ex. 2 at 1.

          72.      Mr. Solomon has been denied access to the binder. Defs.’ Mot.

    Dismiss 18, ECF No. 10-1.

          73.      The Defendants say that the Crossfire Hurricane binder is an

    agency record subject to the Freedom of Information Act and that Mr. Solomon

    has no right to it under the Presidential Records Act. Id.

Dated: August 18, 2023                 Respectfully submitted,


                                       /s/ Michael Ding

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